       Case 1:13-cv-01045-NGG-VMS Document 19 Filed 06/12/14 Page 1 of 6 PageID #: 145




                                           THE CITY OF NEW YORK
ZACHARYW. CARTER                          LAW DEPARTMENT                                       HOLLY R. GERSTENFELD
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                                                                      June 12,2014



         By ECF
         Hon. Vera M. Scanlon
         U.S, District Court
         Eastern District of New York
         225 Cadman Plaza East
         Brooklyn, New York 11201


                        Re:   Ramooe. Inc. v. City of New York et al.;
                              l3 cv 01045
         Your Honor:

                       I am the Assistant Corporation Counsel assigned to represent defendants City of
         New York and the New York City Department of Housing and Preservation Development
         (hereinafter "City Defendants") in this action. The parties entered into a Stipulation of
         Settlement and Order of Dismissal, dated December 17,2013, which was ('so ordered" by the
         Honorable Sandra L. Townes on December 30, 2013. A copy of said stipulation is annexed
         hereto. Paragraph No. 5 of the stipulation indicates a term of the settlement is that Plaintiff,
         Ramooe, Inc., "agrees to execute and deliver to the City a quitclaim deed, in recordable form,
         granting the City any rights that plaintiff may have with respect to Brooklyn Tax Block 2269,
         Lot 45;'

                        In accordance with the terms of the stipulation, on January 8,2014,I forwarded to
         Plaintifls counsel a quitclaim deed for signature. On January 14, 2074, counsel informed me
         that he had forwarded it to Plaintiff for signature. On February 13, 2014 I received the deed
         from counsel, but it was missing certain information such as the date, and name and title of
         signatory. I asked that the deed be returned to me fully completed. To date I have not received
         the completed deed, and have made inquiries every few weeks asking for it. On June 9,2014, in
         response to my latest status inquiry, I was informed by counsel in an email: "'We regret the delay
         that has occurred in finalizing this matter, but it has unfortunately become necessary for us to
         withdraw as counsel, and we will be making such application shortly."
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                "'A trial court has inherent power to enforce summarily     a settlement agreement
 when the terms of the agreement are   clear and unambiguous."   Omega  E(ts,'g, Inc. v. Omega, 5.A..
 432 F3d 437.444 (2d Cir.2}}5\(internal quotation marks and citation omitted);see
 also                                                                                     ("4 district
 court has the power to enforce summarily, on motion, a settlement agreement reached in a case
 that was pending before it.") (citations omitted)." Shegt Metal V/orkers' Nat'l Pe,nsign Fund v.
 Iersew Sheef Metal Wnrks Tnc ef al 2009 U.S, Dist, LEXIS 3784, at *3-*4 (E.D.N.Y
 2O09)(following plaintiff s motion seeking enforcement of a settlement stipulation it entered into
 with defendants, who were in default, the court enforced the settlement agreement because its
 terms were unambiguous), Motion g.ranted by. Ju4gqent er-rtered by Sheqt Mefal Wofkprs'Npt'l
 Pension Fu{rd v, Jelsev Sheet Metal V/orks Inc. ,2009 U.S. Dist. LEXIS 117482 (E.D.N.Y. Dec,
  17,2009). Further, "[a]n order requiring a party to specifically perform in accordance with the
 terms of a valid contract is a proper remedy. [citations omitted] Specific performance is
 particularly appropriate where, as here, the defendants have acted in good faith throughout the
 settlement negotiations and thereafter." Kulesa v. Middaugþ,1999 U.S. Dist. LEXIS 19585, at
 *13 (N.D.N,Y. 1999)(the court enforced the settlement stipulation and ordered specific
 performance, because it found plaintiff to be competent at the time he signed the stipulation).

                The Plaintiff, as well as counsel, signed the Stipulation of Settlement and Order of
 Dismissal after conducting good faith negotiations with Defendants. The terms of the agreement
 are unambiguous, and they include the delivery to Defendants of a quitclaim deed in recordable
 form. Further, Paragraph No. 9 of the stipulation reads: "Notwithstanding the dismissal of this
 action in accordance with this agreement, the District Court shall continue to maintain
 jurisdiction over this action for the purpose of enforcing the terms of the settlement agreement
 reached between the parties and set forth herein." Accordingly, the Defendants now request that
 this Court enforce the "so ordered" stipulation and order Plaintiffs to adhere to the settlement
 terms. In the alternative, Defendants request permission to file a motion seeking an order from
 this Court requiring Plaintiff to adhere to the terms of the "so ordered" stipulation, a contract,
 and provide the fully executed quitclaim deed to the City.

                Please consider this request. Thank you.

                                                               Respectfully submitted,



                                                                     R.             (HG 3
                                                               Assistant Corporation Counsel



 cc: Abner T. Zelman. Kucker & Bruh, LLP,747 Third Avenue, NY, NY 10017




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          KI'CKER&BRUH, LLP                                          MICHAELA, CARDOZO
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